Case 1:25-cv-00748-JKB Document12 Filed 03/07/25 Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

MARYLAND, et al. *
Plaintiffs *
v. m Case No. JKB-25-0748
UNITED STATES DEPARTMENT *
OF AGRICULTURE, et al. a
Defendants *
* * * * * * te ke te * * *
ORDER

A telephone scheduling conference is set in for March 7, 2025, at 4:00 p.m., E.S.T. This
conference will occur on the record.

Assistant Attorneys General Handley and Williamson, appearing on behalf of the State of
Maryland, shall organize the conference call and ensure that counsel for all parties receive
instructions on how to participate. Specifically, the Maryland Assistant Attorneys General shall
ensure that Mr. Thomas Corcoran, the Chief of the Civil Division in the United States Attorney’s
Office for the District of Maryland, has been notified as to the conference call details.

Finally, Assistant Attorney Generals Handley and Williamson shall provide conference
call connection details to the Court, forthwith, so that they Court can connect to the call.

Dated this 7 day of March, 2025.

BY THE COURT:

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James K. Bredar
United States District Judge

